Case 4:13-cr-40048-JPG Document1 Filed 04/18/13 eee FRED

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IN THE UNITED STATES DISTRICT COURT Genk ug. o
FOR THE SOUTHERN DISTRICT OF ILLINOISOUTHERN Sie STRICT COURT

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UNITED STATES OF AMERICA, )
)
Plaintiff, ) ,
) Criminal No. 13 - 40048- JPG
vs. )
) Title 18, United States Code,
RAY ALLEN FLENER, ) Sections 1001 and 1038(a)(1)
)
Defendant. )
INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1

Making a False Statement to a Federal Officer
On or about November 2, 2012, in Franklin County, within the Southern District of Illinois,
RAY ALLEN FLENER,

defendant, did willfully and knowingly make and cause to be made materially false and fictitious
statements and representations in a matter within the jurisdiction of a department of the United
States. FLENER told a Special Agent of the Federal Bureau of Investigation (FBI) that he had
- knowledge of a plan by a group called “the New World Order” to disrupt Election Day, on
November 6, 2012, by using weapons and explosives. Specifically, FLENER told and showed the
FBI agent the area in which the weapons and explosives allegedly had been stored in August of
2012. The statements and representations were false because, as FLENER then and there knew,
he had no such knowledge of weapons and explosives having been stored at that location. It is
further alleged that the offense involved domestic terrorism (as defined in section 2331 of Title 18);

all in violation of Title 18, United States Code, Section 1001.

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COUNT 2
Conveying a False Threat
On or about November 1, 2012, in Franklin County, within the Southern District of Illinois,
RAY ALLEN FLENER,
defendant, did intentionally convey false and misleading information, under circumstances where
such information may reasonably have been believed, that indicated that an activity would take
place, that would constitute a violation of Title 18, United States Code, Chapter 113B, the delivery,
placement, discharge or detonation of an explosive in a place of public use or government facility
with the intent to cause serious bodily injury or destruction in violation of Title 18, United States
Code, Section 2332f(a). Specifically, FLENER told law enforcement officers from the Franklin
County Sheriff's Office and the Federal Bureau of Investigation (FBI) that he had personal
knowledge of a plan by a group called “the New World Order” to disrupt Election Day,
November 6, 2012, by using weapons and explosives. All in violation of Title 18, United States

Code, Section 1038(a)(1).
A TRUE BILL

WILLIAM E. COONAN
Assistant United States Attorney

S ae R. Mpe TON

United States Attorney

 

Recommended Bond: Detention
